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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, TYLER MAGILL, APRIL
    MUNIZ, HANNAH PEARCE, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, and JOHN DOE,


                           Plaintiffs,
    v.


    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD              Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                           Defendants.

   PLAINTIFF HANNAH PEARCE’S MOTION TO WITHDRAW AND VOLUNTARILY
                DISMISS HER CLAIMS WITHOUT PREJUDICE
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          Plaintiff Hannah Pearce respectfully submits this motion to withdraw and voluntarily

  dismiss her claims without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2).

          On July 9, 2018, this Court dismissed all of Hannah Pearce’s claims against the Defendants

  who had moved to dismiss her Amended Complaint. 1 (ECF No. 335 at 62.) The Court did not

  address her claims against any non-moving Defendants. 2 (Id.) On September 17, 2019, Plaintiffs

  filed a Second Amended Complaint which clarified that Ms. Pearce only retained live claims

  against the defaulted Defendants. 3 (ECF. No. 557.)

          After careful consideration and consultation with her attorneys, Ms. Pearce has determined

  that she wishes to withdraw from this case and voluntarily dismiss her only live claims against the

  defaulted Defendants. Given that this Court has made clear that Ms. Pearce “has not sufficiently

  alleged her injuries were caused by overt acts committed in connection with Defendants’

  conspiracy,” (ECF No. 335 at 45), Ms. Pearce cannot continue on in this litigation without a

  colorable claim or likelihood of any damages, even as to the defaulted Defendants. Accordingly,

  the Court should grant the instant motion permitting Ms. Pearce to voluntarily withdraw.




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    The “moving” Defendants whose motions to dismiss were granted as to Hannah Pearce were: Jason Kessler,
  Richard Spencer, Christopher Cantwell, Vanguard America, Robert Ray, Nathan Damigo, Elliot Kline, Identity
  Europa, Matthew Heimbach, Matthew Parrott, Traditionalist Worker Party, Michael Hill, Michael Tubbs, League of
  the South, Jeff Schoep, Nationalist Socialist Movement, Nationalist Front, and Michael Peinovich. (ECF No. 335 at
  2 n.1.)
  2
   Those Defendants include James Fields, who answered the amended complaint, and the defaulted Defendants:
  Andrew Anglin, Moonbase Holdings, LLC, Augustus Sol Invictus, Fraternal Order of the Alt-Knights, Loyal White
  Knights of the Ku Klux Klan, and East Coast Knights of the Ku Klux Klan. (ECF No. 335 at 2 n.1.)
  3
   According to the Second Amended Complaint, Ms. Pearce only asserts claims against the defaulted Defendants:
  Andrew Anglin, Moonbase Holdings, LLC, Augustus Sol Invictus, Fraternal Order of the Alt-Knights, Loyal White
  Knights of the Ku Klux Klan, and East Coast Knights of the Ku Klux Klan. She does not assert claims against any
  other Defendant.

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                                                    ARGUMENT

           Rule 41(a)(2) provides that “an action may be dismissed at the plaintiff’s request only by

  court order, on terms that the court considers proper. … Unless the order states otherwise, a

  dismissal under this paragraph (2) is without prejudice.” Fed. R. Civ. P. 41(a)(2). 4

           According to the United States Court of Appeals for the Fourth Circuit, the purpose of Rule

  41(a)(2) is to freely “allow voluntary dismissals unless the parties will be unfairly prejudiced. …

  [T]hus, a district court should grant a Rule 41(a)(2) motion ‘absent plain legal prejudice to the

  defendant,’” Bridge Oil, Ltd. v. Green Pac. A/S, 321 F. App’x 244, 245 (4th Cir. 2008) (internal

  citations omitted). In this regard, the prejudice must be substantial — “[a] defendant cannot

  establish prejudice sufficient to defeat a Rule 41(a)(2) motion merely by showing that it has filed

  a summary judgment motion … or that it faces the prospect of a subsequent lawsuit.” Id. (internal

  citations and quotations omitted).

           It is hard to imagine how any Defendants against whom Ms. Pearce still asserts claims

  would be prejudiced by her withdrawal from this lawsuit. The defaulted Defendants have served

  no discovery on Ms. Pearce, nor have they responded to a single discovery request from her. They

  have expended no resources whatsoever in participating in this litigation against Ms. Pearce. See

  e.g., White v. McClain, 5:09-cv-0797, 2009 WL 6366741, at *2 (S.D.W. Va. Dec. 4, 2009), report

  and recommendation adopted, 5:09-cv-00797, 2010 WL 1626911 (S.D.W. Va. Apr. 20, 2010)

  (granting motion for voluntary dismissal by noting “Defendants have neither filed an Answer to

  Plaintiff's Complaint nor otherwise pled”); see also Davis v. USX Corp., 819 F.2d 1270, 1273 (4th



  4
    While we recognize that voluntary dismissal is also available without court order by filing “a stipulation of
  dismissal signed by all parties who have appeared,” Fed. R. Civ. P. 41(a)(1)(A)(ii) (emphasis added), as the Court is
  aware, there are numerous pro se and defaulted Defendants who have been unresponsive at every stage of this
  litigation. Although Plaintiffs have no reason to believe any defendant would object to this particular motion, we
  believed it to be more efficient to seek this order directly from the Court, rather than attempt to obtain stipulations
  from parties who have been uncooperative or absent.

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  Cir. 1987) (“[T]he district court must focus primarily on protecting the interests of the

  defendant.”). Nor is there any motion for summary judgment pending. Contra Howard v. Inova

  Health Care Servs., 302 F. App’x 166, 178–80 (4th Cir. 2008) (affirming denial of motion to

  withdraw after summary judgment motions had been filed).

         Moreover, this is clearly not a situation where “voluntary dismissal potentially unravels the

  effect of an earlier legal ruling,” RMD Concessions, L.L.C. v. Westfield Corp., Inc., 194 F.R.D.

  241, 243 (E.D. Va. 2000). Rather, it seeks to reinforce this Court’s earlier ruling: that in this

  Court’s view, Ms. Pearce “has not sufficiently alleged her injuries.” (ECF No. 335 at 45.) The

  fact that Ms. Pearce retained claims against defaulted Defendants was a mere technicality. Even

  if Ms. Pearce were awarded default judgment against the defaulted Defendants, she would unlikely

  be able to recover any damages. Thus, her continuation in this lawsuit would be futile.

                                        CONCLUSION

         For the foregoing reasons, Ms. Pearce respectfully request that the Court grant her motion

  to withdraw and voluntarily dismiss her claims without prejudice pursuant to Rule 41(a)(2).



  Dated: January 7, 2020                               Respectfully submitted,

                                                       /s/
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                                                 Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 7, 2020, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

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          I further hereby certify that on January 7, 2020, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:


   Loyal White Knights of the Ku Klux Klan            Moonbase Holdings, LLC
   a/k/a : Loyal White Knights Church of              c/o Andrew Anglin
   the Invisible Empire, Inc.                         P.O. Box 208
   c/o Chris and Amanda Barker                        Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379


   Andrew Anglin                                      East Coast Knights of the Ku Klux Klan
   P.O. Box 208                                       a/k/a East Coast Knights of the
   Worthington, OH 43085                              True Invisible Empire
                                                      26 South Pine St.
                                                      Red Lion, PA 17356

   Fraternal Order of the Alt-Knights                 Augustus Sol Invictus
   c/o Kyle Chapman                                   9823 4th Avenue
   52 Lycett Circle                                   Orlando, FL 32824
   Daly City, CA 94015

          I further hereby certify that on January 7, 2020, I also served the following non-ECF
  participants, via electronic mail, as follows:

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